          Case 5:18-cr-00029-SLP Document 68 Filed 12/14/18 Page 1 of 14




               IN THI] TJNI'TED STATES DIS'I'RICT COURT FOR I'HE

                        WESTERI,{ DISTRICI' OF OKLAHOMA



U:{ITED STATT]S OF A]VIERIC.{.                     )
                                                   )
                       Plaintiff.                  )
                                                   )
                -vs-                               )       No. CR-18-029-5t.P
                                                   )
NAIF ABDUL AZIZ M. ALFALLAJ,                       )
  a/k/a Al-Muthana Al-Najdi,                       )
                                                   )
                       Defendant.                  )



                                    PLEA AGREE}IENT

                                           Introduction

                l.     This document, in conjunction with a                   Supplement filed

contemporaneously under seal. contains the entire plea agreement between defendant. Naif

Abdulaziz    M. Alfallaj, a/kla Al-Muthana Al-Najdi. and the United            States through its

undersigaed attorney. No other agreement or promise exists, nor may any additional

agreement be entered into unless in writing and signed by             all parties. Aly unilateral

modification of this agreement is hereby rejected by the United States. This agreement

applies only to the criminal violations described and does not apply to any        civil matter or

any   civil forfeiture proceeding except   as spccifically set   forth. This agreement binds only

the United States Attornev's Office of the Wcstern District of Oklahoma and does not bind

any other federal, statc, or local prosecuting, administrative, or regulatory authority.        If
             Case 5:18-cr-00029-SLP Document 68 Filed 12/14/18 Page 2 of 14



delendant does not accept the terms ofthis agreemcnt by noon, December 6, 2018, the offer

is,,vilhdrawn

                                                 Guiltv Ple!

                      2.         Defendant agrees to enter a plea   of guilty to Count One in   Case

Number CR- l8-029-SLP charging Visa Fraud, in violation of Title I 8, United States Codc,

$ 1546(a). To be found guilty ofviolating Title 18, United States Code, g 1546(a). as

charged       in the Indictment, defendant must admit, and does admit: I ) that defendant

knowingly possessed a nonimmigrant visa; 2) that the nonimmigrant visa was procured by

means       ol a materially false statement or fraud:          and 3) that defendant knew the

nonimmigrant visa was procured by means of a materially false statement or fraud.

                      Defendant also agrees to enter a plea     of guilty to Count Three in     Case

Number CR- I 8-029-SLP charging False, Fictitious, or Fraudulent Statemenrs Involving

International Terrorism, in violation of Title 18, Unired States Code,         I   l00l(aX2). To   be

tbund guilty of violating Title 18. United States Code, g l00l(a)(2), as charged in the

Indictment. defendant must admit, and does admit: l) that defendant made a false statement

or representation to a federal agent: 2) that defendant made the statement with knowledgc

it was false: 3) that defendant made the statemcnt willfully, that is, deliberately. voluntarily,

and intentionally; 4) that the statement was made in a matter within the jurisdiction of the

executive branch of the United States; 5) that the statement was material; and 6) that the

statement involved an offense of intemational terrorism.




                                                      2
Naifr\bdulrriz M. Al|allai Plea Agreement
                   Case 5:18-cr-00029-SLP Document 68 Filed 12/14/18 Page 3 of 14




                              Maximum Penaltr'. Restitu                and Suecial Assessments

                           3.           The maximum penalties that could be irnposed as a result of this plea

arc:

                                        a. Count One: ten ( l0) years of imprisonment or a fine of
                                             S250,000.00, or both such fine and imprisonment, as well as a

                                             mandatory special assessment         of    5100.00, and    a term of
                                             supewised release of not more than three (3) years; and

                                       b. Count Three: eight (8) years ol               imprisonmenr   or a fine of
                                             5250,000.00, or both such fine and imprisonment, as w,ell as         a


                                            mandatory special assessment          of    5100.00. and    a term of
                                            supervised release   ofnot more than three (3)    years.

                          In addition to the punishment described above, a plea of guilty can affect

immigration status. If defendant is not a citizen of the United States, a guilty plea may

result in deportation and removal from the United States, may prevent him from ever

lawfully reentering or remaining in the United States, and may result in the denial of

naturalization. As part ofthis plea agreement. def'endant agrees to the entry ofa stipulated

judicial order of removal pursuant to Title 8. Unitcd States Code, gg 1228(c)(5) and 122i.

specifically admitting that he is a nativc and citizen                          of   Saudi Arabia and that he is

removable from the United States pursuant                             to   paragraphs   8 through 11 of this   plea

agreement.




                                                                  )
:l,lra.{bdulazir   ltl Alfillaj   Plea Agr€cm€nl
                Case 5:18-cr-00029-SLP Document 68 Filed 12/14/18 Page 4 of 14



                        4.           In addition. rhe Court must order the payment of restitution to any

victim(s) of the offense. Pursuant                  to l8   U.S.C. gA 3663(aX3) and 36634. the parties

f'urther agree that, as part of the sentence resulting from defendant's plea, the Court                    will

enter an order ofrestitution to all victims ofdefendant's relevant conduct as determined bv

reference to the United States Sentencing Guidelines.

                        5.          Defendant agrees to pav the special asscssment due the United States

to the Office of the United                     States Court Clerk immediatciy following sentencing.

Defendant underslands that any fine or restitution ordered by the Court is immediately due

unless the Court provides for payment on a date certain or in installments.

                        6.          For certain statutory offenses, the Court must also impose a term        of
supervised release, which defendant                 will begin to serve after being released from custody.

For all other offenses, the Court may impose a term of supen.ised release to be served

lollowing release from custody. During the term of supen'ised release, defendant u'ill be

subject to conditions that               will include prohibitions   against violating local, state, or federal

law, reporting requirements. restrictions on travel and residence, and possible testing for

controlled substance use. lfdefendant violates the conditions of his supervised release, the

Coun may revoke his supen,ised release and sentence him to an additional term of

imprisonment. This additional term of imprisonment would be served without credit for

the time defendant successfully spent on supervised release. When combined, the originat

term of imprisonment and any subsequent term of imprisonment the Court imposes may

exceed the statutory maximum prison term allowable for the offense.

                                                            4
\rrl   Ahduh,,i/ V. Allallaj Plea   Agreement
              Case 5:18-cr-00029-SLP Document 68 Filed 12/14/18 Page 5 of 14




                                                  entencin       idel nes

                      7.           Thc parties acknowledge that 18 U.S.C. $ 3553(a) directs the Court to

consider certain factors                 in   imposing sentence, including the Sentencing Guidelines

promulgated by the United States Sentencing Commission. Consequently, although the

parties recognize that the Sentencing Guidelines are only advisory. they have entered into

certain stipulations and agreements with respect to the Guidelines. Based upon the

information known to the parties on the datc this agreement is executed, they expect to

take, but are not limited to, the followin,e positions at sentencing:

                      The parties agree defendant should receive a 2-level downward adjustment

for acceptance of responsibility pursuant to USSG $ 3E1.1(a), if he commits no further

crimes, does not falsely deny or frivolously contest relevant conduct, and fully complies

with all ofthe other terms of this agreement. Further. to the extent the Court finds defendant

qualifies for that 2-level dow,nward adjustrnent and USSG g 3E                 I . I (b)   is applicable, the

government agrees to move for the additional I -level downward adjustment of $ 3E 1.1(b).

if   defendant accepts the terms                of this plea agreement by the deadline        established in

Paragraph        1.



                      Apart from any expressed agreements and stipulations. the parties resen           e   the

right to advocate for, and present evidence relevant to, other guideline adjustrnents and

scntencing factors                lbr   consideration   by the U.S. Probation Otfice and the          Court.

Specifically, but not limited to, the United States intends to advocate for, and present

evidence related to the fact that the offenser'matter involved and rvas related to international

                                                             5
Nai, Abdulaziz M. Allnllaj Plca   Agrcrnrn!
             Case 5:18-cr-00029-SLP Document 68 Filed 12/14/18 Page 6 of 14




terrorism as contemplated by U.S.S.G. $ iA 1.4 (Terrorism Adjustment). Defendant

reserves the right             to   advocate against, and present evidence against this Terrorisnt

Adjustment

                                    Sti ulation to J udicial      r         moval

                      8.        Defendant agrees to the entry ofa stipulated judicial order ofremoval

pursuant to Title 8, United States Code, $S 1228(c)(5) and 1227. Specifically, defendant

admits that he is a native and citizen of Saudi Arabia and that he is rcmovable from the

United States pursuant to:

                      3    Title 8, United States Codc.      {   1227(a)(l)(A).   as an alien   who at the time

                           of entry or of adjustrnent oi status, was within one or more ofthe classes of

                           aliens inadmissible by the law existing at such timc, to wit: aliens who seek

                           to procure. or have sought to procure. or who have procured a visa. other

                           documentation.     or admission into the United States. or other beneflt

                           provided under the Act, by fuaud or by willfully misrepresenting a material

                           fact. under Title 8, United States Code, $ I182(a)(6)(C)(i);

                     b. Title 8, United States Code.         g 1227(aX XB).   as an   alien who is described

                           in Title 8. United States Code, $ I 182(aX3XB)(i)(l), for having engaged

                           ln a terronst actlvlty;

                           Title 8. United States Code, g 1227(a)(a)@),       as an alien   who is described

                           in Title 8, United States Code, rs 1182(aX3)(BXiXVlll). for receiving

                           military+ype training from or on behalf of a terrorist organization;

                                                         6
Nail Abdulaziz M. Alhllaj Ple! Alr.enrent
                Case 5:18-cr-00029-SLP Document 68 Filed 12/14/18 Page 7 of 14



                          d. Title 8. United States Code. rs 1227(aXlXCXi),          as an alien *,ho after

                               admission as        a   nonimmigrant under Title   8, United   States Codc,

                                $ 1l0l(a)(15) failed to maintain or comply with the conditions of the

                               nonimmigrant status in which defendant was admitted; and

                         c     Title 8. United States Code, g 1227(aX2XA)(ii). as an alien who after

                               admission has been convicted of two crimes involving moral rurpitude not

                               arising out of a single scheme of criminal misconduct.

                         9.            Voluntarv Waiver of Ri ghts: After consultation with counsel and

understand'ing the legal consequences                    of doing so, defendant knowingly and voluntarily

waives the right to the notice and hearing provided for in Title 8. United States Code,

$ 1228(cX2) and further waives any and all rights to appeal, reopen. reconsider. or

otherwise challenge this stipulated removal order. Defendant understands and knowingly

waives his right to a hearing belbre an immigration judge or any other authority under the

Immigration and Nationality Act ("INA"), on the question of defendant's removability

from the United States. Defendant further understands the rights defendant would possess

in a contested administrative proceeding and waives these rights. including defendant's

right to examine the evidencc against him, to present evidence on his behalf, and to cross-

examine the witnesses presented by the govemment.

                         Defendant agrees          to waive his rights to any and all forms of relief or

protcction from removal, deportation, or exclusion under the INA, as amended, and related

federal regulations. These rights include, but are not limited to, the ability to apply for the

                                                              7
\arl   Ahd$ln7iz \J. Allallal I'lea   Agreenrenl
             Case 5:18-cr-00029-SLP Document 68 Filed 12/14/18 Page 8 of 14



following forms of relief or protection from removal: asylum; withholding of removal

under Title il. United States Code, $ l23l (bX3); any protection from removal pursuant to

Article 3 of the United Nations Convention Against Torlure. including withholding or

deferral of removal under 8 C.F.R. $ 208; cancellation of removal; adjustment of status;

registry; de novo review of a denial or revocation of temporary protected status (current

or future)l waivers under Title 8, United Statcs Code, $$ I I 82(h) or I 182(i); visa petitions;

consular processing; and voluntary departure or any other possible reliefor protection from

removal available under the Constitution, laws or treaty obligations of the United States.

As part of this agreement, defendant speciflcally acknowledges and states that defendant

has not been persecuted in" and has no present fear        of persecution in, Saudi Arabia on

account       of his race, religion, nationality, membership in a particular social group. or

political opinion. Similarly, defendant further acknowledges and states that defendant has

not been tortured in, and has no present fear of torture in Saudi Arabia.

                      Defendant hereby requests that an order be issued by this Court for his

removal to Saudi Arabia. Defendant agrees to accept a written order of removal as a final

disposition of these proceedings and waives any and all rights to challenge any provision

of this agreement in any United States or foreign court or tribunal.

                      Defendant hereby agrees to make the judicial order   of removal a public
document, waiving his privacy rights, including his privacy rights under S C.F.R. $ 208.6.

At the request of the U.S. Attorney's Office, U.S. Immigration and Customs Enforccmcnt

("lCE") concurs with the government's request forajudicial order ofremoval. Asarcsult

                                                  8
\arl Ahdrhzr/ \{ .{llallij   PIcd   A8n:emenr
              Case 5:18-cr-00029-SLP Document 68 Filed 12/14/18 Page 9 of 14



of the above-referenced order. upon the completion of defendant's criminal proceedings,

including any sentence ofincarceration and any court-imposed supervision, defendant shall

bc renroved to Saudi Arabia.

                      10.               Assistance in the Execution of Removal: Def'endant agrees to assist

ICE in the execution of his removal. Specifically. defendant agrees to assist ICE in the

procurement ofany travel or other documents necessary for defendant's removal; to meet

with and to cooperate with representatives ofthe country or countries to which defendant's

removal is directed; and, to execute those forms, applications, or waivers needed to execute

or expedite defendant's removal. Defendant further understands that his failure or refusal

to assist ICE in the execution of his removal shall breach this plea agreement and may

subject def'endant to criminal penahies under Title 8. United States Code, $ 1253.

                              II    .      Re-entry and Penalties: Defendant concedes that the entry   of

this judicial order of removal renders him permanently inadmissible to the United States.

He agrees that he                   will not enter,   attempt to enter, or transit through the United States

without first seeking and obtaining permission to do so from the Secretary of the

Dcpartment           of      Homeland Security           or other designated representative of the      U.S.

govemment.

                      Waiver of Risht to Aooeal and Brin s Collateral Challense

                      12.            Def'endant understands that the Coud u.ill consider those factors in   l8

U.S.C. $ 3553(a) in determining his sentence. Defendant further understands that 28

U.S.C. $      l29l    and I 8 U.S.C. S 3742 give him the right to appeal thejudgmenr and sentence

                                                               9
Nril Abdulaziz M. Alfrilaj   PIea   Agrecm.nt
             Case 5:18-cr-00029-SLP Document 68 Filed 12/14/18 Page 10 of 14



imposed by the                    Court. Acknowledging all this, and in exchange for the promises              and

concessions made by the United States in this plea agreement, defendant knowingly and

voluntarily waives the following rights:

                                       a.         Defendant waives his right to appeal his guilty plea, and any

other aspect              of his conviction. including but not limited to any rulings on prctrial
suppression motions or any other pretrial disposit'ions of motions and issuesl

                                       b.         Except as stated immediately below. defendant waives his right

to appeal his sentence as imposed by the Court, including any restitution, and the manner

in which the sentence is determined. If the sentence is above the advisory guideline range

determined by the Court to apply to his case, this waiver does not include defendant's right

to appeal specifically the substantive reasonableness of his sentence;

                                       c.         Defendant waives his right to collaterally challenge or move to

modify (under 28 U,S.C. $ 2255.                            l8   U.S.C. g 3582(c)(2), or any orher ground) his

conviction or sentence. including any restitution. except with respect to claims of

ineffective assistance of counsel.

                         Defendant acknowledges that these waivers remain                 in full effect   and are

enforceable, even if the Court rejects one or more of the positions of the United States or

defendant set forth in paragraph 7.

                         I   l.         Except as stated immcdiately below. the United Stares agrees to

waive its right under                   ltt   U.S.C. g 3742 to appeal the sertence imposed by the Court and

the manner in which thc sentence was determined. If the sentence is below the advisory

                                                                  l0
Naif Abdulaziz   Il. Alllrllri    Pl.a Agrccmmr
            Case 5:18-cr-00029-SLP Document 68 Filed 12/14/18 Page 11 of 14



guideline range determined by the Court to apply to this case, this waiver does not include

the right of thc United Stales to appeal specifically the substantive reasonableness of the

sentence.

                                      \Yaiver of Claim to P revailins Partl' Status

                      14.            Defendant expressly acknowledges that he is not a "prevailing party"

within the meaning of l8 U.S.C. $ 3006A rvith respect to the count of conviction or any

other count or charge that may be dismissed pursuant to this agreement.                     If defendant   is

represented by retained counscl, he voluntarily, knowingly, and intelligently waives any

rights he may havc to seek reasonable attomey's f'ees and other litigation expenses under

l8 u.s.c. $ 3006A

                                             Waiver of Further Discoverv

                      15.           Defendant understands. agrees, and has had explained to him by

counsel that by cntering this plea agreement he is giviag up the right to challenge the

governmentrs decision to w'ithhold production                      of classified information and to   receive

further pretrial discovery from the government except as necessary to prepare lor

sentencing proceedings. The govemment has provided. and                       will continue to provide. any

information known to the govemment establishing the factual innocence of defendant.

                                       \\'airer of FOIA and Privacv Act Riehts

                      16.           Defendant u,aives   all rights,    whether asserted directly   or by    a


representative, to request ofor receive from any department or agency ofthe United States

any records pertaining to the investigation or prosecution of this case, including but not

                                                           I   I
Nail Abdulazrz   M Allih1   l'lca   Agrccnlonr
              Case 5:18-cr-00029-SLP Document 68 Filed 12/14/18 Page 12 of 14



limited to records that defendant may seek under the Freedom of Information Act. 5 U.S.C

$ 552. or the Privacy Act                   of 1974, 5 U.S.C. g 522a.

                                                    0bligations of Defendant

                         17.           Delendant shall commit no further crimes.          It is understood   that

should defendant commit any further crimes or should                           it be determined that he has
krowingly givcn false. incomplete. or misleading testimony or information, or shouli he

otherwise violate any provision of this agreement, the United States may declare this

agreement null and void and prosecute defendant for any and                            all his federal criminal

violations, including pe{ury and obstruction ofjustice. Any prosecution within the scope

of this investigation that is not time-barred by the applicable statute of limitations on the

date of the signing of this agreement may be brought against defendant, notwithstanding

the expiration of the statute of limitations between the signing of this agreement and the

commencement of that prosecution. Defendant hereby waives all defenses based on the

statute of limitations with respect to any prosecution that is not time-barred on the date that

this agreement is signed.

                         18.           The parties also recognize that if the Court determines defendant has

violated any provision of this agreement or authorizes defendant to withdraw from his

knowing and voluntary guilty plea entered pursuant to this agreement: (a) all written or

oral statements made by defendant to the Court or to federal or other designated law

enlorcement agents, any testimony given by defendant before                     a   grandjury or other tribunal,

whether before or after the signing of this agreement, and any leads from those statements

                                                               12
\!rl   AhdulaTiz M.   Allail,   Plca   Agrccnlurt
               Case 5:18-cr-00029-SLP Document 68 Filed 12/14/18 Page 13 of 14



or testimony. shall be admissible in evidencc in any criminal proceeding brought against

dcfendant: and (b) defendant shall assert no claim under the United States Constitution.

any statutc. Federal Rule of Criminal Proccdure I I (fl, Federal Rule of Evidence 4 10, or

any othcr federal rule or law that those statements or any leads from those statements

should be suppressed. Defendant knowingly and voluntarily waives the rights described

in this paragraph as of the time he signs this agreement.

                                             The Oblisations of the United States

                          19.         If defendant enters   a plea   of guilty as described above and fully meets

all obligations under this agreement. the United States will move to dismiss ar sentencing

Count Two               of the Indictment, he will nor be lurther              prosecuted   by the United   States

Attorney's C)ffice for the Western District of Oklahoma for any crimes related to his visa

fraud during the period from in or about March 2012 to February 6, 2018, and his false

statements on December 4, 201                     7. This agreement      does not provide any protection against

prosecution for any crime not specifically described above.

                          20.         The United Srates reserves the right to inform the probation Office

and the Court ofthe nature and extent ofdefendant's activities with respect to this case and

all other activities of defendant which the United States deems relevant to sentencino




                                                               13
\Jil   AbdulJri,,   M Altaihi Plla   Agreemenr
            Case 5:18-cr-00029-SLP Document 68 Filed 12/14/18 Page 14 of 14



                                                       Signatures

                     21   . By signing this agreement, defendant acknowledges that he has
discussed its terms with his attomeys and understands and accepls those terms. Further,

defendant acknowledges that this document. in conjunction                    wlh   the Plea Supplement filed

contemporaneously under seal. contains the only tenns of the agreement conceming his

plea of guilty in this case, and that there are no other deals, bargains, agreements, or

understandings which modify or alter these terms.

                     Daterl this      /L    duy   ot                 2018.



                                                               ROBERT J. TROESTER
APPROVED:                                                      First Assistant U.S. Attorney




         m s.-€**x
TRAVIS SMITH                                                     A     DI LLON
Deputy Chief, Criminal Division                                 CO       , W]LLIAMS
                                                               Assistant U.S. Attorneys
                                                               Westem District of Oklahoma
                                                               210 Park Avenue, Ste. 400
WILLIAMH. CA                          LL                       Oklahoma City, Oklahom a 73102
MiCHAEL A. A                                                   (405) 553-8700 (Ofl'rce)
KENNY R. COZA                                                  (405) 553-8888 (Fax)
Attomeys for the Delendant



NAIF ABD                         M. ALFALLAJ                    AVID C. SMITH
                                                                                                           lL,
l)efendant                                                     Trial Attorney
                                                               Counterterrorism Sfction
                                                               National Security Division
                                                               U.S. Departme nt of Justice.
Interpreter,Li ngur                               nt

                                                          t1
Nrii Abdulaziz M. AIfallaj Pl.3 Agrccm.nt
